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 To: The Honorable David J. Hale
 United States District Judge for the Western District of Kentucky
 601 W. Broadway
 Louisville, KY 40202


 George Driscoll-Lovejoy
 Brother-in-law – known Joshua for 9 years
                     Alexandria, VA 223
 Phone Number:
 Email Address:


 To the Honorable Judge David J. Hale:



 Your Honor,

 I am George Driscoll-Lovejoy, the brother-in-law of Joshua White. We have known each other for 9 years,
 and I respectfully ask that you consider this character letter before sentencing on 1/23/25.

 I am aware of Joshua’s guilty plea to the charges against him. I wish to describe Joshua as a caring and
 supportive individual to his family and the community. For the past 9 years that I have met him, he has
 worked on projects such as planting trees and removing graffiti around the city of Louisville. And
 personally, he found accommodations for my friends and I during an overnight relay race when the
 weather diminished. It was above and beyond what anyone could have expected given the limited
 availability to nearby hotels. Joshua strives to make his community and the world a better a place.

 I would like to thank the court for reviewing my letter and considering my ask for leniency during his
 sentencing. I understand that there are consequences for actions, and I ask for the minimum
 probationary period to return Joshua to his normal life caring for his family, friends and community.

 Thank you for your time Your Honor,

 George Driscoll-Lovejoy
